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                                                                                         December 7, 2023

           BY ECF

           Hon. Nusrat J. Choudhury
           100 Federal Plaza
           Central Islip, NY 11722

                    Re:         Clarke et al. v. ALAA (2:23-cv-08869)
                                Request for Pre-Motion Conference on Defendants’ Motion to Dismiss

           Dear Judge Choudhury:

                  This firm represents Defendant Association of Legal Aid Attorneys (“ALAA” or
           “Union”) and individual Defendants Lisa Ohta, Bret J. Taylor, Jeremy Bunyaner, Emily C.
           Eaton, Martyna Kaznowski, Gillian R. Kress, Ioana Calin, and Puja Paul (collectively,
           “Defendants”) in the above-referenced matter. Pursuant to Rule 5.1 of your Honor’s Individual
           Rules for Civil and Criminal Cases, Defendants submit this letter requesting a pre-motion
           conference on Defendants’ anticipated motion to dismiss under Federal Rule of Civil Procedure
           (FRCP) 12(b)(6).

                   In sum, Defendants will move to dismiss because (1) Plaintiffs have not alleged facts to
           support the necessary elements of their two causes of action (2) the primary relief Plaintiffs seek
           is barred by the First Amendment; and (3) Plaintiffs cannot maintain certain claims against
           individual Defendants.

                                        Summary of Facts Taken from the Complaint

                   Plaintiffs work as attorneys at Nassau County Legal Aid Society (NCLAS). They are
           ALAA members. ALAA is a local labor union affiliated with the United Auto Workers (UAW).
           The individual Defendants are ALAA officers.

                  The Union planned to put a resolution (“Resolution”) to a vote of the full ALAA
           membership. The Resolution concerns the ongoing conflict in Israel/Palestine, as well as
           discrimination against workers’ political speech. ALAA bylaws designate the membership as the
           Union’s highest authority.



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              Plaintiffs object to the content of the Resolution. They seek a permanent injunction on the
      vote and any dissemination or distribution of the Resolution to members, as well as
      compensatory damages. Their two underlying causes of action are breach of the Union’s duty of
      fair representation (DFR) and breach of contract based on ALAA bylaws.1

       Plaintiffs Have Not Pleaded Conduct Constituting a Breach of the Union’s DFR, Nor Have
                     They Pleaded Cognizable Injury Caused by the Alleged Breach

              To establish a breach of the DFR claimants must show that their union acted arbitrarily,
      discriminatorily, or in bad faith. Vaca v. Sipes, 386 U.S. 171, 190 (1967). The only conduct by
      Defendants that Plaintiffs allege is a plan to hold a membership vote on the Resolution, obtain
      adoption of the Resolution, and distribute the Resolution publicly. Accordingly, these are the
      only acts upon which Plaintiffs can base their DFR claim. The Court cannot infer from these
      allegations alone that Defendants acted arbitrarily, discriminatorily, or in bad faith.

              Plaintiffs plead no facts to suggest that Defendants acted arbitrarily in bringing the
      Resolution to a vote. In fact, they assert nothing irregular about the process. Plaintiffs do not
      allege that Defendants discriminated against them with respect to membership benefits,
      representation rights, or terms and conditions of work. That Plaintiffs disagreed with the content
      of the Resolution does not mean Defendants discriminated against them within the meaning of
      federal labor law. Finally, Plaintiffs plead no misrepresentations, concealments, or any other
      traditional indicia of bad faith.

               A DFR claimant must also “demonstrate a causal connection between the union’s
      wrongful conduct and their injuries.” Spellacy v. Airline Pilots Association, 156 F.3d 120, 126
      (2d Cir. 1998) (emphasis added). Plaintiffs have not pleaded any cognizable injury or loss. All
      their alleged injuries are future, speculative harms.

      Plaintiffs Identify No Enforceable Contract Promises or Concrete Damages, and Have Not
      Met the Martin v. Curran Pleading Standard for State-Law Claims Against Unincorporated
                                             Associations

              Plaintiffs assert a breach of contract based on the Union’s bylaws, but do not identify any
      bylaw provision that creates an enforceable promise, nor do they allege any concrete damages
      resulting from the alleged breach. No provision in the bylaws could be reasonably interpreted to


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        Plaintiffs included the Resolution as an exhibit to their Complaint, and reference it throughout,
      so it is properly before the Court on Defendants’ Motion to Dismiss. Similarly, Plaintiffs rely
      upon and quote the ALAA bylaws and the constitution of ALAA’s parent union, the UAW, so
      the Court may consider those documents without converting Defendants’ motion to one for
      summary judgment.
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      prohibit the vote. Plaintiffs cannot point to any plausible breach of contract. To the contrary, the
      bylaws invest the membership with the highest authority in the Union.

              Moreover, contract damages “may not be merely speculative, possible or imaginary, but
      must be reasonably certain and directly traceable to the breach, not remote or the result of other
      intervening causes.” Kenford Co. v. Erie Cnty., 67 N.Y.2d 257, 261 (1986). All the harms
      Plaintiffs allege are remote, speculative, and dependent on intervening causes.

               The breach-of-contract claim also fails on its face because ALAA is an unincorporated
      association and Plaintiffs do not plead (and cannot show) that every ALAA member authorized
      or ratified the conduct. See New York General Associations Law, § 13; Martin v. Curran, 303
      N.Y. 276 (1951).

               A Permanent Injunction Would Violate Defendants’ Constitutional Rights

              Plaintiffs seek a permanent injunction prohibiting Defendants from holding the vote or
      distributing the Resolution to the membership. Distribution of the Resolution and voting upon it
      represent expression protected by the First Amendment to the U.S. Constitution. The permanent
      injunction Plaintiffs demand would be an invalid prior restraint on speech, in violation of the
      constitutional rights of Defendant ALAA and its members. See Metro. Opera Ass’n v. Loc. 100,
      Hotel Emps. & Rest. Emps. Int’l Union, 239 F.3d 172, 176 (2d Cir. 2001). Moreover, it would
      represent a viewpoint-based restriction on speech that could never survive strict scrutiny. See
      Rosenberger v. Rector & Visitors of Univ. of Virginia, 515 U.S. 819, 829 (1995).

                           No DFR Claim Lies Against the Individual Defendants

              Individual union officers cannot be sued for breach of DFR. See Morris v. Loc. 819, Int’l
      Bhd. of Teamsters, 169 F.3d 782, 784 (2d Cir. 1999). To the extent individual officers may be
      sued for breach of a union constitution, the breach-of-contract claims should still be dismissed
      for failure to allege an enforceable promise or concrete damages.


                                                                    Respectfully submitted,



                                                                    Aleksandr L. Felstiner
